       Case 1:25-mj-00089-MJS           Document 1-1        Filed 05/21/25      Page 1 of 7




                                   STATEMENT OF FACTS
      The below signed affiant is a Criminal Investigator/Deputy U.S. Marshal assigned to the
U.S. Marshals Service (USMS) D.C. District Court Judicial Security Unit (JSU).
         I am a Deputy United States Marshal with the United States Marshals Service (USMS) and
have been since 2010. I am currently assigned to the U.S. District Court for the District of
Columbia, where I am assigned the collateral duty of District Protective Investigator. I have
conducted numerous criminal investigations and received training in Protective Investigations. I
am a Criminal Investigator of the United States within the meaning of Title 28, United States Code,
Section 566(d) and (e)(1)(A); that is, an officer of the United States who is employed to make
arrests for any felony cognizable under the laws of the United States if he or she has reasonable
grounds to believe that the person to be arrested has committed or is committing such felony. I
have completed the Criminal Investigator Training Program at the Federal Law Enforcement
Training Center (FLETC) and have received training and am certified in areas such as legal aspects
and duties regarding Protective Investigations. Furthermore, I have successfully completed
numerous training programs hosted by USMS, FLETC, the Bureau of Alcohol, Tobacco, Firearms,
and Explosives (ATF), and other local/state/federal law enforcement agencies and
organizations. From June 2020 to June 2022, I was detailed full time to the ATF Washington Field
Division, as a Criminal Investigator to participate in the ATF/USMS Violent Crime Reduction
Initiative. During my time detailed to the ATF, I participated in numerous criminal investigations,
which resulted in arrests and convictions for violent criminal activities to include firearm, drug,
and conspiracy charges. From 2020 to 2024, I served as the Warrant Coordinator for D.C. District
Court. As the warrant coordinator, I performed supervisory duties within the warrant squad during
the supervisor's absence.
        This affidavit is in support of an arrest warrant and is intended to establish probable cause
for the arrest of Emily Gabriella SOMMER. This affidavit is not intended to convey all the facts
known to law enforcement. The following facts and circumstances set forth in this affidavit are
based on information supplied to your affiant by members of the law enforcement community,
witnesses, and facts obtained through my independent investigation.
        On May 8th, 2025, at approximately 3:30 p.m., in front of 601 D Street Northwest in
Washington, D.C., Edward R. Martin Jr., who will hereinafter be referred to as V-1, was
conducting a video-recorded interview with A.A., a reporter affiliated with the Newsmax
television network. At the time, V-1 was the interim U.S. Attorney for the District of Columbia.
N.M., the Director of Executive Affairs (DEA) for the U.S. Attorney’s Office for the District of
Columbia, and T.O., a reporter affiliated with the National Broadcasting Company (NBC)
television network, were also present for the interview.
      During the interview, Suspect-1, later identified as Emily Gabriella SOMMER, approached
V-1 and stated words to the effect of, “Who in the fuck are you?” V-1 turned to face SOMMER.
SOMMER then said words to the effect of, “Are you Ed Martin? You are. Ed Martin.” Next,
SOMMER lunged at V-1 and spit on V-1’s left shoulder. SOMMER then walked eastbound on D




                                                 1
       Case 1:25-mj-00089-MJS          Document 1-1       Filed 05/21/25     Page 2 of 7




Street Northwest and yelled, “You are a disgusting man. Fuck you, Ed Martin. My name is Emily
Gabriella SOMMER, and you are served.”




       After the incident, law enforcement reviewed security camera footage from the exterior of
the U.S. Attorney’s Office, which captures SOMMER walking away after spitting on V-1.




       Investigators queried the name “Emily Gabriella Sommer” in law enforcement databases
and identified Emily Gabriella Sommer with date of birth            along with the following
booking photo.




        Your affiant compared the booking photo to footage of the incident and noted consistencies
in the jawline, hairline, eyebrows, and nose between the booking photo of SOMMER and the
footage of Suspect-1.



                                                2
Case 1:25-mj-00089-MJS   Document 1-1   Filed 05/21/25   Page 3 of 7
Case 1:25-mj-00089-MJS   Document 1-1   Filed 05/21/25   Page 4 of 7




                               4
Case 1:25-mj-00089-MJS   Document 1-1   Filed 05/21/25   Page 5 of 7




                               5
Case 1:25-mj-00089-MJS   Document 1-1   Filed 05/21/25   Page 6 of 7




                               6
       Case 1:25-mj-00089-MJS          Document 1-1       Filed 05/21/25     Page 7 of 7




Your affiant is aware that V-1’s personal X account username is @EagleEdMartin.
       The @EmilyGabriellaS X account contains a profile picture that appears similar to known
photographs of SOMMER.




        Investigators queried law enforcement databases and identified Address-1 as SOMMER’s
home address. On May 15, 2025, investigators interviewed W2 at SOMMER’s residence.
Investigators showed W2 a still image from security camera footage capturing SOMMER walking
away after spitting on V-1. W2 positively identified Emily Gabrielle SOMMER and confirmed
SOMMER lives at Address-1.
       As such, your affiant submits that probable cause exists to charge Emily Gabrielle Sommer
with violation of 18 U.S.C. § 111 (Assaulting, resisting, or impeding certain officers and
employees of the United States).


                                                            Respectfully submitted,



                                                            Fletcher Veitch
                                                            Deputy U.S. Marshal
                                                            U.S. Marshals Service


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone on May 21, 2025.


                                                    ______________________________
                                                    MATTHEW J. SHARBAUGH
                                                    UNITED STATES MAGISTRATE JUDGE



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